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IN THE UNITED S'I`ATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
MARSHALL DIVISI()N

JAMES MORR()W, and a Proposed
Class of ()ther Similarly Situated Persons,
Plaintii`fs
v. CIV]L ACTION NO. 2:08cv288
CITY OF TENAHA DEPUTY CITY
MARSHAL BARRY WASHINGTON,
in his Official Capacity only;
CITY OF TENAHA MAYOR
GEORGE BOWERS, in his Official
Capacity only;
SHELBY COUNTY DIS'I`RICT
ATTORNEY LINDA K. RUSSELL,
in her Oi`ficial Capacity only; and
SHELBY COUNTY PRECINCT 4
CONSTABLE RANDY WHATLEY,
in his Official Capacity only,
Def'endants

JUDGE: T. John War'd

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PLAINTIFFS’ ORIG]NAL COM.'PLAINT
INIRODUCTION
lll Defendants are all local law enforcement officials in and around the city of Tenaha,
lexas in Slielby County and the Mayor of Ienaha., However, they have developed an illegal
practice of stopping, detaining, sear'ching, and often seizing property from, citizens Who are
traveling in and through Ienaha., lhe Defendants undertake this practice Without legal
_justiiication, in violation ofthe citizens’ rights, not for any legitimate law enforcement purpose

but to enrich their offices and perhaps themselves, by seizing and converting valuable property

 

 

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they can discover during the course of'this practice . PlaintiH'.Iames Morrow is one citizen victim
of`this practice

2.\ lite Defendants’ actions challenged herein are in violation of at least the 4th and
14th Amendments to the United States Constitution, made actionable 42 U \S..C §1983..

3. Plaintiff`MorroW, on his own behalf and on behalf`of`a putative class of similarly
situated persons, seeks only equitable relief suflicient to remedy the practices complained of,
along With all costs of suit authorized by 42 U..S .C., § 1988.\

JURISDICIION
4.\ lhis Court has jurisdiction of`these disputes pursuant to 28 U.S`.C\. § 133 l \.
PARIIES

5, Plaintiff` .iames MorroW, is a United States citizen and a resident of Pine Bluff§
Arkansas.

6\. Defendant Barry Washington is at this time sued only in his ofiicial capacity as a City
of fenaha Deputy Marshal.i Def`errdant Washington lives in Panola County, lexas.` He can be served
at his office at 122 N. Center St., lena.ha, iexas 75974`.

7\. Def`endant George Bowers is at this time sued only in his official capacity as the
Mayor of`the City of fenaha. He can be served at 122 N. Center St.., lenaha, lexas 75974..

Si. Defendant Linda K.. Russell is at this time sued only in her official capacity as the
District Attorney of Shelby County, lexas. She can be served at her office at 200 San Augustine
Str'eet, Center', Iexas 75935.

9\. Defendant Randy Whatley is at this time sued only in his official capacity as the

Shelby County Pr‘ecinct 4 Constable. He can be served at 368 FM 2669, fenaha, Texas 75974\

 

 

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PACTS

 

10\. On or about August 31, 2007, Plaintifi`l\/[orrow Was driving through lenaha, iexas,
When he Was stopped by Defendant Washington, Who had no truthful legal justification for the stop`.

11 l Defendant Washington ordered Plaintiff` Morrow to get out ofhis car', vvithout any
legal justificationl

12., Defendant Washington searched Plajntiff` Morrow’s car, Without any legal
justification

13 . Defendant Whatley arrived on the scene With a dog and also searched Plaintiff’s carl
Without legal _]`ustitication.`

140 Defendant Washington also interrogated Plaintif'f' Morr'ow, without any legal
justification

15 l Defendant Washington discovered no evidence suggesting any criminal activity as a
result of`the Sear'ches and interrogation

l6.` Defendant Washington asked Plaintiff` Morrow if he had any money and Plaintiff`
Morr‘ow truthiillly Said he had about $3900 in his Wallet..

17. Defendants Washington and Whatley then seized, Without legal justification,
approximately $.3969 from Plaintiffl\/iorrow as Well as two cell phones

18`. Defendant Washington arrested Plaintiff`MorroW, for What he claimed Was “money
laundering..” Defendant Washington had no reason to believe Plaintiffl\/.[orrovv vvas guilty of`money

laundering

 

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l9. Defendants Washington and Russell told Plaintiff` Morr'ovv they Would hold him
prisoner and prosecute him for money laundering unless he Would agree to forfeit the $3 969\. Under'
this duress and these thr'eats, Defendants Washington and Russell forced Plaintiff`MorroW to execute
documents memorialing the forfeitur'e, and released him, and Wamed him to not hire a lawyer or try
to get his money back..

20., Defendants never had reason to, or really intended to, prosecute Plaintiff`MorroWr
Any charges have been dismissed, “in the interest of'justice..”

21 .` lt is Plaintiff’s information and belief that the seized money and property Was
intended to, and perhaps did, benefit these Defendants and the governmental entities they Worked for.\

22. lt is Plaintiff` Morrovv’s information and belief that for the last two years these
Defendants have similarly mistreated other persons similarly situated to Piaintiff'MorroW, and that
they Will continue to do so. As a result, Plaintif'f'MorroW and others are reasonably compelled to
avoid traveling in or' through lenaha, lexas.

23\. Defendants’ actions and omissions described above were undertaken under color of`
state laW, although their actions represent an abuse of`authority`.

24.` Plaintiff'MorroW, and others similarly situated, have suffered harm and continue to
suffer harm as a result of'the Defendants’ actions described above.\

25`. Defendants’ conduct described above constitute violations of¢lth and 14th Amendrnent

rights to be free from unreasonable seizures

 

 

 

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26, Plaintiff`l\/lorrow on his own behalf`and on behalf`of'others, seeks the full measure of`
equitable relief, including declaratory r'elief`and injunctive relief§ to remedy the wrongs suffered and
to prevent the Defendants from continuing the practices described abovel

27, Plaintiff` Morrow seeks all costs of suit authorized by 42 U.,S…C., § 1988.`

 

 

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Respectfully submitted,

/S/ David l Guillory

 

David l l Guillory

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AT`I ORNEYS FOR PLA]NTIFF

 

